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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    IN RE REQUEST FOR EXEMPTION FROM                              Misc. Action No. 20-68 (BAH)
    ELECTRONIC PUBLIC ACCESS FEES BY
    BRENT JOHNSON                                                 Chief Judge Beryl A. Howell




                                                  ORDER

        This Miscellaneous matter is before the Court upon the request of Brent Johnson, Co-

Director of the Law Library at Widener University Commonwealth School of Law, for

exemption from the fees imposed by the Electronic Public Access Fee Schedule adopted by the

Judicial Conference of the United States Courts.1 See Electronic Public Access Fee Schedule,

JUDICIAL CONFERENCE (Dec. 31, 2019), https://www.uscourts.gov/services-forms/fees/

electronic-public-access-fee-schedule (“Fee Schedule”). Mr. Johnson seeks a discretionary

Public Access to Court Electronic Records (“PACER”) fee exemption solely for the charges

incurred in connection with scholarly research.

        The Court finds that Mr. Johnson, as an individual researcher associated with an

educational institution, falls within the class of users listed in the fee schedule as being eligible

for a fee exemption. Additionally, Mr. Johnson has demonstrated that the requested fee

exemption is necessary in order to avoid unreasonable burdens and to promote public access to

information. Moreover, Mr. Johnson has shown that his research project is intended for

scholarly research, that it is limited in scope, and that it is not intended for redistribution on the

internet or for commercial purposes. Accordingly, Mr. Johnson shall be exempt from the



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        Requests for a PACER fee exemption “by academicians, researchers and other nonlitigants” are resolved
by the Chief Judge of this Court. D.D.C. LOCAL CIVIL RULE 40.7(g).
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payment of fees for access via PACER to the electronic case files maintained in the United States

District Court for the District of Columbia, to the extent such use is incurred in the course of

conducting the research for which he has requested the fee exemption.

       Mr. Johnson shall not be exempt from the payment of fees incurred in connection with

other uses of the PACER system in this Court. The following limitations also apply:

           1. Consistent with Mr. Johnson’s representation that the fee exemption will apply

               only to him, this fee exemption applies only to Mr. Johnson and is valid only for

               the purposes stated above.

           2. This fee exemption applies only to the electronic case files of this Court that are

               available through the PACER system.

           3. By accepting this fee exemption, Mr. Johnson agrees not to sell for profit any data

               obtained as a result of receiving this exemption.

           4. Mr. Johnson is prohibited from transferring any data obtained as a result of

               receiving this exemption, including redistribution via internet-based databases,

               unless expressly authorized by the Court.

           5. This fee exemption is granted for the period of approximately one year, starting

               on the date of this order and ending on July 31, 2021.

       This fee exemption may be revoked at the discretion of the Court at any time. The Clerk

of the Court shall send a copy of this Order to the PACER Service Center.

       SO ORDERED.

       Date: August 10, 2020


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                                                      BERYL A. HOWELL
                                                      Chief Judge
